Case 17-10941-jkf          Doc 61Filed 10/30/17 Entered 10/30/17 13:24:25    Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF PENNSYLVANIA


In re                                         :          Chapter 7

Sharmil McKee
a/k/a McKee Law Office


               Debtor(s)                      :          Bankruptcy No. 17-10941



                                          NOTICE


To the debtor, debtor's counsel, and all parties in interest:

NOTICE is hereby given that::

               1.      This matter is reassigned to the calendar of the
                       Honorable Eric L. Frank from the calendar of the
                       Honorable Stephen Raslavich

Dated: 10/30/2017
                                                         FOR THE COURT


                                                         TIMOTHY B. MCGRATH
                                                         CLERK
cc:
Judge(s)
Debtor
Counsel to Debtor
Trustee
US Trustee


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(3/01)
